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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiffs,                                       8:17CR286

        vs.
                                                                           ORDER
BRIJIDO BELTRAN-RODELO,

                       Defendant.


        This matter is before the court on defendant's UNOPPOSED MOTION TO EXTEND
DEADLINE TO FILE PRETRIAL MOTIONS [131]. For good cause shown, I find that the motion
should be granted. The defendant will be given an approximate 30-day extension. Pretrial Motions
shall be filed by February 14, 2018.


        IT IS ORDERED:
        1.     Defendant's UNOPPOSED MOTION TO EXTEND DEADLINE TO FILE
PRETRIAL MOTIONS [131] is granted. Pretrial motions shall be filed on or before February 14,
2018.
        2.     The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result of
the granting of the motion, i.e., the time between January 15, 2018, and February 14, 2018, shall be
deemed excludable time in any computation of time under the requirement of the Speedy Trial Act
for the reason defendant's counsel required additional time to adequately prepare the case, taking into
consideration due diligence of counsel, and the novelty and complexity of this case. The failure to
grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).


        Dated this 16th day of January, 2018.

                                                       BY THE COURT:

                                                       s/ Michael D. Nelson
                                                       United States Magistrate Judge
